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Exhibit 2.

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Attorney: SPEIGHTS, DANIEL A
Law Firm: SPEIGHTS & RUNYAN

‘Claim Number: 12417
Claimant: CARLETON UNIVERSITY,

. As described below, certain questions on the Asbestos Property Damage Proof of
Claim Form require the claimant to provide documents. On the Claim Form identified
above, the following checked questions were not answered or were not ot responded to

property, for the reason(s] stated:

1 Category 1 Claim: O Categary 1 Comments:
16. Documents relating to the purchase and/or installation of the product in the property.

No documents were provided.
CO Documents provided are insufficient because:

18. Documents concerning when the claimant first knew of the presence of ashestos in

the property.
Propeny: No documents were provided.
Documents provided are insufficient because:

they fail to indicate either expressly or fram the nature or context ofthe
document, when the claimant first knew of the presence of asbestos in the

property,
22. Documents conceming efforts to remove, contain and/or abate the Grace product:
4 No documents were provided.
C1 Documents provided are insuffi cient because:

26. Documents concerming testing or sampling for asbestos i in the property.
C1 No documents were provided.
©! Documents provided are insufficient because:

building air sampie results were not included.

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